                                             Case 15-80016                     Doc 216            Filed 07/03/22                Page 1 of 13




                                                                                        Form 3                                                                                         Page: 1
                                                                   Summary Interim Asset Report
   Trustee:                 Sara A. Conti (530200)                                                                                        Blanket Bond Amount:                   $20,680,000.00
   Period:                  04/01/22 - 06/30/22                                                                                           Per Case Limit:                         $2,500,000.00

            1                                   2                                 3                    4                       5                        6                    7

                                                                           Date Filed (f) or     Total Funds on           Amount of           Gross Value of         Date of Disposition by:
                                                                            Converted (c)      Deposit or Invested      Separate Bond        Remaining Assets        TFR, TFR(e), TDR, NDR,
   Case Number                          Case Name                            to Chapter 7         (from Form 2)            (if any)            (from Form 1)                 C, D, R

 15-80016              NC & VA WARRANTY COMPANY, INC.                        01/07/15 (f)                  17,527.34                                5,937,500.00 12/31/22 TFR(e)
                       Next Activity: This is the thirty-first interim
                       report.


                       The sole remaining asset for administration is
                       the Debtor's claim in a criminal forfeiture
                       proceeding pending in the U.S. District Court
                       for the Eastern District of North Carolina,
                       which has come to a close. The Defendant's
                       Bitcoin account was liquidated by the U.S.
                       Government, and sufficient funds were
                       obtained to satisfy both the Order of Forfeiture
                       and the Order of Restitution entered in the
                       criminal proceeding (approximately
                       $14,000,000.00). The funds have been
                       deposited with the Clerk of Court for the
                       Eastern District, but because of an unrelated
                       appeal by the Defendant, the Clerk has
                       refused to distribute the funds to the victims of
                       fraud identified in the original criminal
                       judgment. In September, 2021, the US
                       Attorney for the Eastern District filed a number
                       of motions to expedite the release of the
                       funds, but no order has been entered. Upon
                       receipt of the restitution funds, the trustee
                       intends to pay the remaining unpaid claims,
                       and any funds remaining will be paid to the
                       decedent estate of Ronnie Thomas, the sole
                       shareholder of the Debtor. A final report is
                       expected to be filed by December 31, 2022.

                          Totals (Column 6 excludes unknown values)                                     $17,527.34                                $5,937,500.00



I certify that I have filed and reviewed Forms 1 and 2 for all cases listed above and that they are accurate and correct to the best of my knowledge.




                      /s/ Sara A. Conti
Trustee's signature:_____________________________________________________                                                                                        07/03/22
                                                                                                                                                Date signed:_________________




                                                                                                                                                        Printed: 07/03/2022 12:50 PM    V.20.45
                                        Case 15-80016          Doc 216         Filed 07/03/22                  Page 2 of 13


                                                                                                                                                                      Page: 1
                                                                       Form 1
                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number:         15-80016                                                  Trustee:        (530200)         Sara A. Conti
Case Name:           NC & VA WARRANTY COMPANY, INC.                            Filed (f) or Converted (c):      01/07/15 (f)
                                                                               §341(a) Meeting Date:            02/06/15
Period Ending:       06/30/22                                                  Claims Bar Date:                 05/05/15

                         1                       2                    3             4                  5                   6                 7                    8
                                                                Est Net Value
            Asset Description                  Petition/     (Value Determined   Property         Sale/Funds          Asset Fully         Lien              Exempt
             (Scheduled And                  Unscheduled      By Trustee, Less Abandoned          Received by         Admin. (FA)/       Amount             Amount
         Unscheduled (u) Property)              Values       Liens, Exemptions, OA=§554(a)         the Estate        Gross Value of
Ref. #                                                        and Other Costs) DA=§554(c)                            Remain. Assets

 1       Wells Fargo Checking                    38,449.52        36,502.64                            36,502.64                 FA               0.00                  0.00
         Operating account
           Imported from original
         petition Doc# 4

 2       Wells Fargo Checking Claims                  0.00        55,933.30                            55,933.30                 FA               0.00                  0.00
         Account
           Imported from original
         petition Doc# 4

 3       Wells Fargo checking Payroll             5,390.22          5,390.22                            5,390.22                 FA               0.00                  0.00
         account (12/31/2014
           Imported from original
         petition Doc# 4

 4       Pending lawsuit against Trey        10,000,000.00      4,000,000.00                                  0.00     4,000,000.00               0.00                  0.00
         Thomas currently in
           Imported from original
         petition Doc# 4

 5       Potentialy lawsuit against          10,000,000.00      4,000,000.00                       2,062,500.00        1,937,500.00               0.00                  0.00
         Fidelity
           Imported from original
         petition Doc# 4

 6       Office equipment, furniture,            15,000.00              0.00                                  0.00               FA          15,000.00                  0.00
         computers, applianc
           Imported from original
         petition Doc# 4

 7       Workers comp insurance audit             1,299.00          1,299.00                            1,299.00                 FA               0.00                  0.00
         refund (u)

 8       Wells Fargo Reimbursement                    0.00            71.32                                  71.32               FA               0.00                  0.00
         for Utility Bill (u)

 9       Fidelity Bank Account                    4,018.24          4,018.24                            4,018.24                 FA               0.00                  0.00

10       NCVA/Coastal Warranty LLC                    0.00        10,398.83                            10,398.83                0.00              0.00                  0.00
         Fidelity Bank Account (u)

11       Tax Refund (u)                               0.00          1,305.00                            1,305.00                 FA               0.00                  0.00

12       Coastal Warranty, LLC                  160,000.00       130,000.00                          130,000.00                  FA               0.00                  0.00
         preference


                                                                                                                                   Printed: 07/03/2022 12:50 PM       V.20.45
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                                                                                                                                                                                        Page: 2
                                                                                     Form 1
                                               Individual Estate Property Record and Report
                                                                Asset Cases
Case Number:         15-80016                                                                 Trustee:         (530200)         Sara A. Conti
Case Name:           NC & VA WARRANTY COMPANY, INC.                                           Filed (f) or Converted (c):       01/07/15 (f)
                                                                                              §341(a) Meeting Date:             02/06/15
Period Ending:       06/30/22                                                                 Claims Bar Date:                  05/05/15

                        1                                    2                   3             4                         5                  6                   7                   8
                                                                           Est Net Value
            Asset Description                             Petition/     (Value Determined   Property             Sale/Funds          Asset Fully             Lien                Exempt
             (Scheduled And                             Unscheduled      By Trustee, Less Abandoned              Received by         Admin. (FA)/           Amount               Amount
         Unscheduled (u) Property)                         Values       Liens, Exemptions, OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                   and Other Costs) DA=§554(c)                                Remain. Assets

13       Defendant Contribution to                               0.00                 0.00                               2,789.35                0.00                 0.00                0.00
         Storage Expense (u) (See
         Footnote)
                               Totals
 13      Assets       (Excluding unknown values) $20,224,156.98              $8,244,918.55                        $2,310,207.90       $5,937,500.00           $15,000.00                 $0.00


      RE PROP# 13           Contrtibution to storage expense



      Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

                  This is the thirty-first interim report.


                  The sole remaining asset for administration is the Debtor's claim in a criminal forfeiture proceeding pending in the U.S. District Court for the Eastern District of North
                  Carolina, which has come to a close. The Defendant's Bitcoin account was liquidated by the U.S. Government, and sufficient funds were obtained to satisfy both the
                  Order of Forfeiture and the Order of Restitution entered in the criminal proceeding (approximately $14,000,000.00). The funds have been deposited with the Clerk of
                  Court for the Eastern District, but because of an unrelated appeal by the Defendant, the Clerk has refused to distribute the funds to the victims of fraud identified in the
                  original criminal judgment. In September, 2021, the US Attorney for the Eastern District filed a number of motions to expedite the release of the funds, but no order has
                  been entered. Upon receipt of the restitution funds, the trustee intends to pay the remaining unpaid claims, and any funds remaining will be paid to the decedent estate
                  of Ronnie Thomas, the sole shareholder of the Debtor. A final report is expected to be filed by December 31, 2022.

      Initial Projected Date Of Final Report (TFR):          June 30, 2016                      Current Projected Date Of Final Report (TFR):            December 31, 2022


                 July 3, 2022
            __________________________                                                                   /s/ Sara A. Conti
                                                                                                         _________________________________________________________________
                             Date                                                                        Sara A. Conti


      Copy Served On:            Mr. William P. Miller
                                 Bankruptcy Administrator




                                                                                                                                                    Printed: 07/03/2022 12:50 PM        V.20.45
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                                                                                       Form 2                                                                                         Page: 1

                                                        Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                                Trustee:          Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                          Bank Name:        Metropolitan Commercial Bank
                                                                                                            Account:          ******0002 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                                   Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                                     Separate Bond: N/A

   1            2                           3                                                 4                                           5                    6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                       Description of Transaction                                     $                   $       Account Balance
06/03/21                 Transition Transfer Credit              Transition Transfer Credit                                      !       18,362.93                                18,362.93
07/14/21                 Transition Transfer Credit              Transition Transfer Credit                                      !            12.72                               18,375.65
02/23/22     10203       NC Department of Revenue                                                                                                                   289.81        18,085.84
02/23/22     10204       NC Dept. of Revenue Franchise Tax 2018 Franchise Tax XX-XXXXXXX                                                                            279.27        17,806.57
                         Payment
02/23/22     10205       NC Dept. of Revenue Franchise Tax 2019 Franchise Tax XX-XXXXXXX                                                                            266.34        17,540.23
                         Payment
03/10/22     10206       International Sureties, Ltd.            Bond # 016036434      03/01/22-03/01/23                                                             12.89        17,527.34

                                                                                       ACCOUNT TOTALS                                    18,375.65                  848.31    $17,527.34
                                                                                                  Less: Bank Transfers                   18,375.65                    0.00
                                                                                       Subtotal                                                0.00                 848.31
                                                                                                  Less: Payments to Debtors                                           0.00
                                                                                       NET Receipts / Disbursements                           $0.00                $848.31




{} Asset reference(s)                             !-Not printed or not transmitted                                                                 Printed: 07/03/2022 12:50 PM       V.20.45
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                                                                                   Form 2                                                                                         Page: 2

                                                        Cash Receipts And Disbursements Record
Case Number:         15-80016                                                                       Trustee:             Sara A. Conti (530200)
Case Name:           NC & VA WARRANTY COMPANY, INC.                                                 Bank Name:           Mechanics Bank
                                                                                                    Account:             ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                           Blanket Bond:        $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                             Separate Bond: N/A

   1            2                            3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                                     $                   $       Account Balance
02/02/15       {7}        Harleysville Insurance             Workers comp insurance audit refund                                      1,299.00                                   1,299.00
02/03/15       {3}        Wells Fargo Bank, NA               Turnover of funds in payroll account                                     5,390.22                                   6,689.22
02/03/15       {1}        Wells Fargo Bank, NA               Proceeds of operating account                                          35,808.09                                42,497.31
02/03/15       {2}        Wells Fargo Bank, NA               Proceeds of claims account                                             55,933.30                                98,430.61
02/27/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  103.88        98,326.73
03/30/15      101         Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                          79.94        98,246.79
                                                             OF 03/30/2015 FOR CASE #15-80016
03/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  150.85        98,095.94
04/06/15      102         Duke Energy Progress               Account #706 578 7926 Reinstatement                                                               694.55        97,401.39
04/20/15       {1}        Wells Fargo Bank                   Proceeds of funds on deposit with Wells Fargo                               694.55                              98,095.94
04/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  140.66        97,955.28
05/26/15      103         Joshua H. Bennett, Esq.            Docket # 37, Special Counsel Fee 2/26/15 - 3/31/15                                            11,503.06         86,452.22
05/29/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  136.19        86,316.03
06/08/15      104         J. Alexander S. Barrett            Special counsel fees and expenses from 2/13/15 - 3/31/15,                                      9,283.30         77,032.73
                                                             per Docket Entry 41
06/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  125.62        76,907.11
07/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  114.30        76,792.81
08/03/15      105         Duke Energy Progress               Account #757 017 4891                                                                               7.75        76,785.06
08/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  106.76        76,678.30
09/07/15       {8}        Wells Fargo                        Reimbursement for Duke Energy utility payment                                71.32                              76,749.62
09/07/15      106         Duke Energy Progress               Account Number 757 017 4891 8/13/15 Invoice                                                        71.32        76,678.30
09/16/15      107         J. Alexander S. Barrett            Fees and Expenses from 4/2/15 - 6/29/15 Docket #70                                            16,557.13         60,121.17
09/16/15      108         Joshua H. Bennett, Esq.            Fees and Expenses from 4/1/15 - 6/30/15 Docket #71                                             7,383.29         52,737.88
09/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                  107.67        52,630.21
10/02/15       {9}        Fidelity Bank                      Funds remaining in Debtor's bank account                                 4,018.24                               56,648.45
10/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                   80.32        56,568.13
11/30/15      109         CubeSmart 6592 CubeSmart NC        Document storage fees                                                                             161.00        56,407.13
                          Greensboro/Battleground
11/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                   78.65        56,328.48
12/22/15      110         J. Alexander S. Barrett            Doc. #92, Fees and Expenses for 7/6/15 - 9/30/15                                              16,459.05         39,869.43
12/28/15      111         D.H. Craig. PC                     Fee for services rendered re 2014 return, Doc. No. 90                                             850.00        39,019.43
12/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                                                                   87.61        38,931.82
01/04/16      {10}        Fidelity Bank                      Balance remaining in NCVA/Coastal Warranty, LLC account                10,398.83                                49,330.65
                                                             at Fidelity Bank
01/04/16      112         CubeSmart 6592 CubeSmart NC        Unit #2165 January 2016 Rent                                                                      161.00        49,169.65
                          Greensboro/Battleground
01/14/16      113         Joshua H. Bennett, Esq.            Doc. #95, Order re Final Fees and Expenses                                                     7,185.45         41,984.20

                                                                                                      Subtotals :                 $113,613.55             $71,629.35
{} Asset reference(s)                                                                                                                         Printed: 07/03/2022 12:50 PM        V.20.45
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                                                                                  Form 2                                                                                    Page: 3

                                                       Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                      Trustee:          Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                Bank Name:        Mechanics Bank
                                                                                                  Account:          ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                         Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                           Separate Bond: N/A

   1            2                           3                                           4                                       5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                                 $                   $       Account Balance
01/25/16      114        CubeSmart 6592 CubeSmart NC        Document Storage Fee Unit 2165 Acct. # 1002288022                                             161.00        41,823.20
                         Greensboro/Battleground
01/29/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               65.27        41,757.93
03/01/16      115        CubeSmart 6592 CubeSmart NC        March Storage Fee Unit 2165                                                                   161.00        41,596.93
                         Greensboro/Battleground
03/01/16      116        U.S. Legal Support                 Payment of Invoice No. 544139, Job No. 47065                                                  717.55        40,879.38
03/01/16      117        Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                     257.83        40,621.55
                                                            OF 03/01/2016 FOR CASE #15-80016, March 1, 2016 to
                                                            March 1, 2017
03/01/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               57.92        40,563.63
03/24/16      118        CubeSmart 6592 CubeSmart NC        Unit #2165 April, 2016 storage rent                                                           161.00        40,402.63
                         Greensboro/Battleground
03/31/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               64.51        40,338.12
04/29/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               55.93        40,282.19
05/04/16      {11}       United States Treasury             60 Tax refund                                                        1,305.00                               41,587.19
05/04/16      119        CubeSmart 6592 CubeSmart NC        Unit # 2165 May, 2016 Storage Fee                                                             161.00        41,426.19
                         Greensboro/Battleground
05/28/16      120        CubeSmart 6592 CubeSmart NC        Acct. #1002288022, Unit 2165 June, 2016                                                       161.00        41,265.19
                         Greensboro/Battleground
05/31/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               57.15        41,208.04
06/29/16      121        CubeSmart 6592 CubeSmart NC        Unit 2165 July, 2016 storage rental                                                           161.00        41,047.04
                         Greensboro/Battleground
06/30/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               65.09        40,981.95
07/27/16      122        CubeSmart 6592 CubeSmart NC        Unit #2165 August, 2016 rent                                                                  161.00        40,820.95
                         Greensboro/Battleground
07/29/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               56.87        40,764.08
08/12/16      123        J. Alexander S. Barrett            Payment toward Fourth Fee App - 10/1/15 - 03/10/16                                        20,000.00         20,764.08
08/25/16      124        CubeSmart 6592 CubeSmart NC        Unit #2165 September 2016                                                                     161.00        20,603.08
                         Greensboro/Battleground
08/31/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               50.96        20,552.12
09/21/16      125        CubeSmart 6592 CubeSmart NC        October, 2016 storage fee                                                                     176.00        20,376.12
                         Greensboro/Battleground
09/22/16      126        NC Dept. of Revenue Franchise Tax 2015 Franchise Tax Payment XX-XXXXXXX                                                           35.00        20,341.12
                         Payment
09/22/16      127        NC Dept of Revenue - Corporate     2015 Corporate Income Tax Payment XX-XXXXXXX                                                   25.00        20,316.12
                         Income Tax Payment
09/30/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               29.44        20,286.68
10/11/16      {12}       Towne Bank/Coastal Warranty, LLC   Proceeds of settlement of Coastal Warranty, LLC preference        130,000.00                            150,286.68

                                                                                                    Subtotals :              $131,305.00             $23,002.52
{} Asset reference(s)                                                                                                                    Printed: 07/03/2022 12:50 PM       V.20.45
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                                                       Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                       Trustee:             Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                 Bank Name:           Mechanics Bank
                                                                                                   Account:             ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                          Blanket Bond:        $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                            Separate Bond: N/A

   1            2                           3                                        4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                                     $                   $       Account Balance
10/18/16      128        J. Alexander S. Barrett            Balance of Docket No. 107, Allowing Fees and Expenses of                                     13,572.50      136,714.18
                                                            $33,572.50
10/31/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                 128.60     136,585.58
11/01/16      129        CubeSmart 6592 CubeSmart NC        Unit #2165 November 2016                                                                         176.00     136,409.58
                         Greensboro/Battleground
11/23/16      130        CubeSmart 6592 CubeSmart NC        Acct.# 1002288022 Unit 2165 Storage Fee December 2016                                            176.00     136,233.58
                         Greensboro/Battleground
11/30/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                 208.80     136,024.78
12/13/16      131        Sara A. Conti                      Trustee Expenses Per Docket No.121                                                               966.40     135,058.38
12/13/16      132        Sara A. Conti                      Attorney for Trustee fees per Docket No.121                                                  34,362.50      100,695.88
12/30/16                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                 195.13     100,500.75
01/05/17      133        CubeSmart 6592 CubeSmart NC        Storage Fee Unit 2165 January 2017                                                               176.00     100,324.75
                         Greensboro/Battleground
01/05/17      134        U.S. Legal Support                 Invoice No. 110003653 NCVA Warranty v. Fidelity Bank                                          1,316.36          99,008.39
01/09/17      135        U.S. Legal Support                 Invoice No. 110007226 NCVA Warranty v. Fidelity Bank                                          1,221.35          97,787.04
01/31/17                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                 160.49         97,626.55
02/17/17      136        CubeSmart 6592 CubeSmart NC        February 2017 Rent on Unit 2165                                                                  176.00         97,450.55
                         Greensboro/Battleground
02/23/17      137        CubeSmart 6592 CubeSmart NC        March Storage fee for Unit 2165                                                                  176.00         97,274.55
                         Greensboro/Battleground
02/24/17      138        J. Alexander S. Barrett            Attorney fees and expenses for 3/11/16 - 12/7/16 per Doc.                                    70,836.73          26,437.82
                                                            #127
02/28/17                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                 131.01         26,306.81
03/06/17      139        U.S. Legal Support                 Invoice No. 110017298 Robert Puckett Transcript                                                  748.30         25,558.51
03/06/17      140        U.S. Legal Support                 Invoice No. 110017355 Charles Clementson Transcript                                              691.85         24,866.66
03/06/17      141        Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                         95.75         24,770.91
                                                            OF 03/06/2017 FOR CASE #15-80016, Blanket Bond
                                                            #016036434 3/1/17 - 3/1/18
                                                            Voided on 03/14/17
03/14/17      141        Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                        -95.75         24,866.66
                                                            OF 03/06/2017 FOR CASE #15-80016, Blanket Bond
                                                            #016036434 3/1/17 - 3/1/18
                                                            Voided: check issued on 03/06/17
03/14/17      142        Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                         38.88         24,827.78
                                                            OF 03/14/2017 FOR CASE #15-80016, Blanket Bond
                                                            #016036434 3/1/17 -3/1/18
03/14/17      143        Huseby, Inc.                       Invoice No. 176740 Jonathan Perry Transcript                                                  1,975.30          22,852.48
03/31/17                 Rabobank, N.A.                     Bank and Technology Services Fee                                                                  36.70         22,815.78

                                                                                                     Subtotals :                         $0.00       $127,470.90
{} Asset reference(s)                                                                                                                        Printed: 07/03/2022 12:50 PM       V.20.45
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                                                                                Form 2                                                                                       Page: 5

                                                    Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                      Trustee:          Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                Bank Name:        Mechanics Bank
                                                                                                  Account:          ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                         Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                           Separate Bond: N/A

   1            2                           3                                        4                                          5                    6                   7

 Trans.     {Ref #} /                                                                                                       Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                                   $                    $       Account Balance
04/06/17      144        CubeSmart 6592 CubeSmart NC      April 2017 Storage fee Unit 165Acct. # 1002288022                                              176.00          22,639.78
                         Greensboro/Battleground
04/17/17      145        Huseby, Inc.                     Depostion Fee for Mary Willis March 24, 2017 Inv.                                           1,871.95           20,767.83
                                                          No.180268
04/26/17      146        CubeSmart 6592 CubeSmart NC      Unit No. 2165 Storage Rent for May, 2017                                                       175.00          20,592.83
                         Greensboro/Battleground
04/28/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                30.13          20,562.70
05/08/17      147        U.S. Legal Support               Invoice No. 110036432 Marshburn Deposition                                                     822.30          19,740.40
05/30/17      148        CubeSmart 6592 CubeSmart NC      Unit #2165 Storage for June, 2017                                                              176.00          19,564.40
                         Greensboro/Battleground
05/31/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                31.80          19,532.60
06/01/17      149        U.S. Legal Support               Invoice No. 110020083 Carolyn Barefoot, Toni Shumpert                                       1,189.16           18,343.44
                                                          depositions
06/06/17      150        U.S. Legal Support               Invoice #110020083 Carolyn Barefoot deposition                                              1,189.16           17,154.28
06/29/17      151        CubeSmart 6592 CubeSmart NC      Unit # 2165 July 17 rent                                                                       176.00          16,978.28
                         Greensboro/Battleground
06/30/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                25.96          16,952.32
07/25/17      152        CubeSmart 6592 CubeSmart NC      Unit 2165 August 2017 rent                                                                     176.00          16,776.32
                         Greensboro/Battleground
07/31/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                23.61          16,752.71
08/23/17      {13}       Newhouse Prophater               Contrtibution to storage expense                                            58.67                              16,811.38
08/23/17      {13}       Northen Blue                     Contrtibution to storage expense                                            58.67                              16,870.05
08/31/17      153        CubeSmart 6592 CubeSmart NC      Unit # 2165 September, 2017 rent                                                               176.00          16,694.05
                         Greensboro/Battleground
08/31/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                26.56          16,667.49
09/19/17      {13}       Newhouse Prophater et al         Contrtibution to storage expense                                            58.67                              16,726.16
09/19/17      {13}       Northen Blue LLP                 Contrtibution to storage expense                                            58.67                              16,784.83
09/26/17      154        NC Dept. of Revenue Franchise Tax 2016 Franchise Tax XX-XXXXXXX                                                                 200.00          16,584.83
                         Payment
09/29/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                23.28          16,561.55
10/05/17      {13}       Newhouse Prophater               Contribution to storage fee re documents                                    58.67                              16,620.22
10/06/17      155        CubeSmart 6592 CubeSmart NC      October Rent Unit 2165                                                                         192.00          16,428.22
                         Greensboro/Battleground
10/17/17      {13}       Northen Blue LLP                 Contribution to storage cost re documents                                   64.00                              16,492.22
10/26/17      156        CubeSmart 6592 CubeSmart NC      October storage Unit 2165                                                                      192.00          16,300.22
                         Greensboro/Battleground
10/26/17      157        Jeutter Law                      Conti v. Fidelity Bank et al mediation conference                                           1,100.00           15,200.22
10/31/17                 Rabobank, N.A.                   Bank and Technology Services Fee                                                                25.34          15,174.88

                                                                                                      Subtotals :                   $357.35          $7,998.25
{} Asset reference(s)                                                                                                                     Printed: 07/03/2022 12:50 PM       V.20.45
                                          Case 15-80016              Doc 216              Filed 07/03/22             Page 9 of 13



                                                                                  Form 2                                                                                      Page: 6

                                                       Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                         Trustee:        Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                   Bank Name:      Mechanics Bank
                                                                                                     Account:        ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                            Blanket Bond:   $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                              Separate Bond: N/A

   1            2                           3                                         4                                          5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                                  $                    $       Account Balance
11/07/17      {13}       Newhouse Prophater                 Contribution to storage fee re documents                                   64.00                              15,238.88
11/29/17      158        CubeSmart 6592 CubeSmart NC        Unit 2165 December 2017 rent                                                                  192.00          15,046.88
                         Greensboro/Battleground
11/30/17                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               21.90          15,024.98
12/05/17      {13}       Newhouse Prophater                 Defendant contribution to storage expenses                                 64.00                              15,088.98
12/05/17      {13}       Northen Blue, LLP                  Defendant contribution to storage fees                                     64.00                              15,152.98
12/27/17      {13}       Newhouse Prophater                 Defendant contribution to storage expenses                                 64.00                              15,216.98
12/27/17      {13}       Northen Blue                       Defendant contribution to storage expenses                                 64.00                              15,280.98
12/27/17      159        CubeSmart 6592 CubeSmart NC        January 2018 rent on Unit 2165                                                                192.00          15,088.98
                         Greensboro/Battleground
12/29/17                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               21.05          15,067.93
01/30/18      {13}       Newhouse Prophater                 Defendant contribution to storage expenses                                 64.00                              15,131.93
01/30/18      {13}       Northen Blue                       Defendant contribution to storage expenses                                 64.00                              15,195.93
01/30/18      160        CubeSmart 6592 CubeSmart NC        Acct. No. 1002288022 Feb. '18 rent on Unit 2165                                               192.00          15,003.93
                         Greensboro/Battleground
01/31/18                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               23.88          14,980.05
02/12/18      {13}       Northen Blue LLP                   Defendant contribution to storage expenses                                 64.00                              15,044.05
02/22/18      161        CubeSmart 6592 CubeSmart NC        Acct. No. 1002288022 March 2018 rent on Unit 2165                                             192.00          14,852.05
                         Greensboro/Battleground
02/28/18                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               20.19          14,831.86
03/08/18      162        Ltd. International Sureties        BOND PREMIUM PAYMENT ON LEDGER BALANCE AS                                                     180.03          14,651.83
                                                            OF 03/08/2018 FOR CASE #15-80016, Bond # 016036434
03/21/18      {13}       Newhouse Prophater                 Defendant contribution to storage expenses                                 64.00                              14,715.83
03/21/18      {13}       Newhouse Prophater                 Defendant contribution to storage expenses                                 64.00                              14,779.83
03/30/18                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               21.22          14,758.61
04/02/18      163        CubeSmart 6592 CubeSmart NC        Acct # 1002288022 Unit No. 2165                                                               192.00          14,566.61
                         Greensboro/Battleground
04/30/18                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               20.34          14,546.27
05/02/18      {13}       Newhouse Prophater                 Defendant share of storage costs                                           64.00                              14,610.27
05/02/18      {13}       Northen Blue                       Defendant share of storage costs                                           64.00                              14,674.27
05/02/18      164        CubeSmart 6592 CubeSmart NC        Account #1002288022 Unit 2165                                                                 192.00          14,482.27
                         Greensboro/Battleground
05/23/18      {13}       Newhouse Prophater                 Defendant share of storage costs                                           64.00                              14,546.27
05/23/18      {13}       Northen Blue                       Defendant share of storage costs                                           64.00                              14,610.27
05/28/18      165        CubeSmart 6592 CubeSmart NC        Acct. # 1002288022                                                                            192.00          14,418.27
                         Greensboro/Battleground
05/31/18                 Rabobank, N.A.                     Bank and Technology Services Fee                                                               23.00          14,395.27


                                                                                                       Subtotals :                   $896.00          $1,675.61
{} Asset reference(s)                                                                                                                      Printed: 07/03/2022 12:50 PM       V.20.45
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                                                   Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                 Trustee:        Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                           Bank Name:      Mechanics Bank
                                                                                             Account:        ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                    Blanket Bond:   $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                      Separate Bond: N/A

   1            2                         3                                      4                                       5                    6                  7

 Trans.     {Ref #} /                                                                                                Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                               $                   $       Account Balance
06/29/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           20.04         14,375.23
07/03/18      {13}       Newhouse Prophater             Defendant share of storage costs                                      64.00                              14,439.23
07/03/18      {13}       Northen Blue                   Defendant share of storage costs                                      64.00                              14,503.23
07/03/18      166        CubeSmart 6592 CubeSmart NC    Acct. # 1002288022 Unit No. 2165                                                          192.00         14,311.23
                         Greensboro/Battleground
07/24/18      {13}       Newhouse Prophater             Defendant share of storage costs                                      64.00                              14,375.23
07/24/18      {13}       Northen Blue                   Defendant share of storage costs                                      64.00                              14,439.23
07/24/18      167        CubeSmart 6592 CubeSmart NC    Acct. No. 1002288022 August Rent Unit 2165                                                192.00         14,247.23
                         Greensboro/Battleground
07/31/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           22.04         14,225.19
08/31/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           21.14         14,204.05
09/05/18      {13}       Newhouse Prophater             Defendant share of storage costs                                      64.00                              14,268.05
09/05/18      168        CubeSmart 6592 CubeSmart NC    Acct. # 1002288022 September rent unit 2165                                               192.00         14,076.05
                         Greensboro/Battleground
09/28/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           10.83         14,065.22
09/29/18      169        CubeSmart 6592 CubeSmart NC    Acct. # 1002288022 October 2018 rent Unit 2165                                            224.00         13,841.22
                         Greensboro/Battleground
10/24/18      {13}       Newhouse Prophater             Defendant share of storage fee                                        64.00                              13,905.22
10/24/18      {13}       Newhouse Prophater             Defendant share of storage fee                                        64.00                              13,969.22
10/31/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           12.57         13,956.65
11/05/18      170        CubeSmart 6592 CubeSmart NC    Acct. # 1002288022 Unit 2165 November 2018                                                224.00         13,732.65
                         Greensboro/Battleground
11/30/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           11.36         13,721.29
12/06/18      171        CubeSmart 6592 CubeSmart NC    Acct. # 1002288022 December Rent Unit 2165                                                225.00         13,496.29
                         Greensboro/Battleground
12/19/18      172        CubeSmart 6592 CubeSmart NC    Acct. #1002288022 January 2019 Unit No. 2165                                              222.00         13,274.29
                         Greensboro/Battleground
12/31/18                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           10.76         13,263.53
01/01/19      {13}       Newhouse Prophater             Defendant share of storage fee                                        64.00                              13,327.53
01/01/19      {13}       Northen Blue                   Defendant share of storage fee                                       320.00                              13,647.53
01/29/19      {13}       Newhouse Prophater             Defendant share of storage fee                                        64.00                              13,711.53
01/29/19      {13}       Northen Blue                   Defendant share of storage fee                                        64.00                              13,775.53
01/29/19      173        CubeSmart 6592 CubeSmart NC    Acct# 1002288022 Feb. 2019 rent unit 2165                                                 223.00         13,552.53
                         Greensboro/Battleground
01/31/19                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           12.28         13,540.25
02/28/19                 Rabobank, N.A.                 Bank and Technology Services Fee                                                           10.42         13,529.83
03/10/19      {13}       Newhouse Prophater             Defendant share of storage fee                                        64.00                              13,593.83


                                                                                              Subtotals :               $1,024.00             $1,825.44
{} Asset reference(s)                                                                                                             Printed: 07/03/2022 12:50 PM       V.20.45
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                                                         Cash Receipts And Disbursements Record
Case Number:         15-80016                                                                      Trustee:        Sara A. Conti (530200)
Case Name:           NC & VA WARRANTY COMPANY, INC.                                                Bank Name:      Mechanics Bank
                                                                                                   Account:        ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                          Blanket Bond:   $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                            Separate Bond: N/A

   1            2                            3                                         4                                       5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                              $                   $       Account Balance
03/10/19      {13}        Newhouse Prophater                  Defendant share of storage fee                                        64.00                              13,657.83
03/10/19      174         CubeSmart 6592 CubeSmart NC         Account No. 1002288022                                                                     223.00        13,434.83
                          Greensboro/Battleground
03/25/19                  Newhouse Prophater                  Defendant share of storage fee                                        64.00                              13,498.83
03/25/19      {13}        Northen Blue                        Defendant share of storage fee                                        64.00                              13,562.83
03/25/19      175         International Sureties, Ltd.        Bond #016036434                                                                              6.97        13,555.86
03/25/19      176         CubeSmart 6592 CubeSmart NC         Acct. # 1002288022                                                                         223.00        13,332.86
                          Greensboro/Battleground
03/29/19                  Rabobank, N.A.                      Bank and Technology Services Fee                                                            10.72        13,322.14
04/26/19      {13}        Newhouse Prophater                  Defendant share of storage fee                                        64.00                              13,386.14
04/26/19      {13}        Northen Blue                        Defendant share of storage fee                                        64.00                              13,450.14
04/26/19      177         CubeSmart 6592 CubeSmart NC         Acct. No. 1002288022 May 2019 Unit 2165                                                    223.00        13,227.14
                          Greensboro/Battleground
04/30/19                  Rabobank, N.A.                      Bank and Technology Services Fee                                                            11.69        13,215.45
05/31/19                  Rabobank, N.A.                      Bank and Technology Services Fee                                                            11.22        13,204.23
06/03/19      {13}        Newhouse Prophater                  Defendants share of storage cost                                      64.00                              13,268.23
06/03/19      {13}        Northen Blue                        Defendants share of storage cost                                      64.00                              13,332.23
06/03/19      {13}        Northen Blue                        Defendants share of storage cost                                      64.00                              13,396.23
06/03/19      178         CubeSmart 6592 CubeSmart NC         Account Number 1002288022 June 2019 Unit 2165                                              223.00        13,173.23
                          Greensboro/Battleground
06/03/19      179         J. Alexander S. Barrett             Expenses re Statement No. 35640                                                         3,001.31         10,171.92
06/25/19      {13}        Newhouse Prophater                                                                                        64.00                              10,235.92
06/25/19       {5}        Dealers Assurance Company           Settlement Payment                                           1,000,000.00                           1,010,235.92
06/25/19       {5}        The Cincinnati Insurance Co.        Settlement Payment                                           1,062,500.00                           2,072,735.92
06/26/19      180         Hagan Barrett, PLLC                                                                                                       485,668.15    1,587,067.77
06/28/19      181         Dealers Assurance Company           Settlement Payment                                                               1,037,500.00        549,567.77
06/28/19      182         Rebecca Lea                         Priority Claim                                                                         12,475.00     537,092.77
06/28/19      183         Rebecca Lea                         Unsecured claim                                                                            200.00    536,892.77
06/28/19      184         Barbara Winstead                    Priority Claim                                                                          3,740.00     533,152.77
06/28/19      185         Robert Puckett                      Priority Claim                                                                          6,000.00     527,152.77
06/28/19      186         CubeSmart 6592 CubeSmart NC         Account Number 1002288022                                                                  223.00    526,929.77
                          Greensboro/Battleground
06/28/19      187         Person County Tax Collector         Claim Payment                                                                              235.76    526,694.01
                                                              Voided on 08/21/19
06/28/19      188         Public Service Company of NC        Proof of Claim No. 2                                                                       423.09    526,270.92
06/28/19      189         Pitney Bowes                        Proof of Claim N0.3                                                                     1,880.29     524,390.63
06/28/19      190         NC Dept. of Commerce                Proof of Claim No. 5                                                                       154.13    524,236.50

                                                                                                    Subtotals :           $2,063,076.00       $1,552,433.33
{} Asset reference(s)                                                                                                                   Printed: 07/03/2022 12:50 PM       V.20.45
                                         Case 15-80016               Doc 216                 Filed 07/03/22              Page 12 of 13



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                                                        Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                           Trustee:          Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                     Bank Name:        Mechanics Bank
                                                                                                       Account:          ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                              Blanket Bond:     $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                                Separate Bond: N/A

   1            2                           3                                            4                                           5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                                     $                   $       Account Balance
06/28/19      191        NC Dept. of Commerce                Proof of Claim No. 6                                                                               15.41    524,221.09
06/28/19      192        Synchrony Bank                      Proof of Claim No. 8                                                                              114.62    524,106.47
06/28/19      193        Wells Fargo Bank, NA                Proof of Claim No. 8                                                                         254,266.31     269,840.16
06/28/19                 Rabobank, N.A.                      Bank and Technology Services Fee                                                                  117.43    269,722.73
08/16/19                 Rabobank, N.A.                      Bank and Technology Services Fee Adjustment                                                       -117.43   269,840.16
08/21/19      187        Person County Tax Collector         Claim Payment                                                                                     -235.76   270,075.92
                                                             Voided: check issued on 06/28/19
08/28/19      194        Dealers Assurance Company           Unclaimed Funds from settlement                                                                   235.76    269,840.16
09/02/19      195        Hagan Barrett, PLLC                 Expenses per Statement No. 36037                                                               1,383.39     268,456.77
11/18/19      196        Dealers Assurance Company           Doc. 191 Consent Order                                                                       115,000.00     153,456.77
11/18/19      197        Car City of Whiteville, Inc.        Doc. 191 Consent Order                                                                        25,000.00     128,456.77
02/21/20      198        Sara A. Conti                       Doc. No. 198, Atty fees and expenses thru 1/15/2020                                           17,651.37     110,805.40
03/06/20      199        International Sureties, Ltd.        Bond # 016036434 03/01/2020 to 03/01/21                                                            68.40    110,737.00
03/31/20                 Rabobank, N.A.                      Bank and Technology Services Fee                                                                   88.49    110,648.51
04/30/20      200        Sara A. Conti                       Trustee Commission per Court Order                                                            92,348.63         18,299.88
04/30/20                 Rabobank, N.A.                      Bank and Technology Services Fee                                                                  176.85        18,123.03
05/29/20                 Mechanics Bank                      Bank and Technology Services Fee                                                                   47.68        18,075.35
06/30/20                 Mechanics Bank                      Bank and Technology Services Fee                                                                   30.81        18,044.54
07/31/20                 Mechanics Bank                      Bank and Technology Services Fee                                                                   29.80        18,014.74
03/09/21      201        International Sureties, Ltd.        Bond Number 016036434                                                                              12.72        18,002.02
                                                             Stopped on 06/15/21
03/22/21      202        International Sureties, Ltd.        Bond # 016036434                                                                                   12.72        17,989.30
05/20/21                 Mechanics Bank                      Bank and Technology Services Fee Adjustment                                                       -373.63       18,362.93
06/03/21                 Transition Transfer Debit           Transition Transfer Debit                                                                     18,362.93               0.00
06/15/21      201        International Sureties, Ltd.        Bond Number 016036434                                                                              -12.72            12.72
                                                             Stopped: check issued on 03/09/21
07/14/21                 Transition Transfer Debit           Transition Transfer Debit to Metropolitan Bank account                                             12.72              0.00
                                                             xxxxxx0002

                                                                                    ACCOUNT TOTALS                               2,310,271.90        2,310,271.90                 $0.00
                                                                                             Less: Bank Transfers                         0.00             18,375.65
                                                                                    Subtotal                                     2,310,271.90        2,291,896.25
                                                                                             Less: Payments to Debtors                                           0.00
                                                                                    NET Receipts / Disbursements                $2,310,271.90       $2,291,896.25




{} Asset reference(s)                                                                                                                         Printed: 07/03/2022 12:50 PM       V.20.45
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                                                  Cash Receipts And Disbursements Record
Case Number:        15-80016                                                                      Trustee:        Sara A. Conti (530200)
Case Name:          NC & VA WARRANTY COMPANY, INC.                                                Bank Name:      Mechanics Bank
                                                                                                  Account:        ******7066 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                         Blanket Bond:   $2,500,000.00 (per case limit)
Period Ending: 06/30/22                                                                           Separate Bond: N/A

   1            2                          3                                       4                                          5                    6                  7

 Trans.     {Ref #} /                                                                                                     Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From                 Description of Transaction                                $                   $       Account Balance

                               Net Receipts :       2,310,271.90
                                                 ————————                                                                       Net              Net                  Account
                                  Net Estate :     $2,310,271.90               TOTAL - ALL ACCOUNTS                           Receipts      Disbursements             Balances

                                                                               Checking # ******0002                               0.00                848.31         17,527.34
                                                                               Checking # ******7066                      2,310,271.90       2,291,896.25                    0.00

                                                                                                                         $2,310,271.90      $2,292,744.56         $17,527.34




                 July 3, 2022                                                          /s/ Sara A. Conti
           __________________________                                                  _________________________________________________________________
                           Date                                                        Sara A. Conti




{} Asset reference(s)                                                                                                                  Printed: 07/03/2022 12:50 PM        V.20.45
